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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LAURA REED,                         )
                                    )
             Plaintiff              )
                                    )
       v.                           ) Case No.: 3:15-cv-00187-KRG
                                    )
CENTRAL CREDIT SERVICES f/k/a       )
INTEGRITY SOLUTION SERVICES, INC., )
a wholly-owned subsidiary of RADIUS )
SOLUTIONS, LLC,                     )
                                    )
             Defendant              )

                     NOTICE OF VOLUNTARY DISMISSAL


TO THE CLERK:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

dismisses the Complaint with prejudice.




Dated: October 6, 2015                     BY: /s/ Craig Thor Kimmel
                                           Craig Thor Kimmel, Esquire
                                           PA Attorney ID No. 57100
                                           Kimmel & Silverman, P.C.
                                           30 East Butler Pike
                                           Ambler, PA 19002
                                           Phone: (215) 540-8888 ext
                                           Facsimile: (877) 788-2864
                                           Email: kimmel@creditlaw.com
                                           Attorney for Plaintiff
      Case 3:15-cv-00187-KRG Document 9 Filed 10/06/15 Page 2 of 2




                                  Certificate of Service

       I hereby certify that on this 6th day of October, 2015, a true and correct copy of

the foregoing pleading served via mail to the below:


              Ross S. Enders, Esq.
              Sessions, Fishman, Nathan & Israel, L.L.C.
              2303 Oxfordshire Road
              Furlong, PA 18925
              renders@sessions.legal

                                              /s/ Craig Thor Kimmel
                                              Craig Thor Kimmel, Esquire
                                              PA Attorney ID No. 57100
                                              Kimmel & Silverman, P.C.
                                              30 East Butler Pike
                                              Ambler, PA 19002
                                              Phone: (215) 540-8888
                                              Facsimile: (877) 788-2864
                                              Email: kimmel@creditlaw.com
                                              Attorney for Plaintiff
